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 1   Attorney at Law
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 2   Fresno, California 93721
 3   Telephone: (559) 497-6132
 4   Attorney for Defendant,
 5   RANDOLPH PICCHI

 6
                         IN THE UNITED STATES DISTRICT COURT FOR THE
 7
                                 EASTERN DISTRICT OF CALIFORNIA
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 9
     UNITED STATES OF AMERICA,                                 Case No. 1:19-CR-00153-DAD-BAM
10           Plaintiff,                                        WAIVER OF APPEARANCE
11                                                             AND ORDER THEREON
                    v.
12                                                             DATE: December 9, 2020
     RANDOLPH PICCHI,                                          TIME: 1:00 p.m.
13                                                             Courtroom Eight
            Defendant.
14                                                             HON. BARBARA A. McAULIFFE

15
            Defendant, RANDOLPH PICCHI, hereby waives his right to be present in person in
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     open court upon all pretrial hearings presently set or set in the future in the above entitled case.
17
18   Defendant hereby requests the court to proceed in his absence and agrees that his interests will

19   be deemed represented at said hearing(s) by the presence of his attorney, John F. Garland.
20
     Defendant further agrees to be present in person in court at all future hearing dates at which his
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     presence is required by the court, including the date set for jury trial.
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23
     Dated: October        1 , 2020                                  /s/ Randolph Picchi
24                                                                  RANDOLPH PICCHI

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     ___________________________________________________________________________________________________________________
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                                                  ORDER
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              Good cause appearing,
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              IT IS HEREBY ORDERED that defendant RANDOLPH PICCHI is hereby excused
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     from appearing at all pretrial hearings before the court, unless the presence of the defendant at
 5
 6   any pretrial hearing is required by the court.

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     IT IS SO ORDERED.
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 9       Dated:      October 5, 2020                                    /s/ Barbara A. McAuliffe                     _
10                                                              UNITED STATES MAGISTRATE JUDGE

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